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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 PHARMACEUTICAL CARE
 MANAGEMENT ASSOCIATION,

                 Plaintiff,                                   Case No. 21-cv-02161-JDB

        v.

 UNITED STATES DEPARTMENT OF
 HEALTH AND HUMAN SERVICES, et al.,

                 Defendants.


                                      PROOF OF SERVICE

       I hereby certify that service of the summons and complaint was effected pursuant to Federal

Rule of Civil Procedure 4(i)(2), 4(i)(1)(A)(i), and 4(i)(1)(B) as follows on Defendants the UNITED

STATES DEPARTMENT OF HEALTH AND HUMAN SERVICES (“HHS”); CENTERS FOR

MEDICARE & MEDICAID SERVICES (“CMS”); UNITED STATES DEPARTMENT OF THE

TREASURY (“Treasury”); INTERNAL REVENUE SERVICE (“IRS”); UNITED STATES

DEPARTMENT           OF       LABOR    (“DOL”);      EMPLOYEE         BENEFITS       SECURITY

ADMINISTRATION (“EBSA”); XAVIER BECERRA, in his official capacity as Secretary of

Health and Human Services; CHIQUITA BROOKS-LASURE, in her official capacity as

Administrator of the Centers for Medicare and Medicaid Services; JANET YELLEN, in her

official capacity as Secretary of the Department of Treasury; CHARLES P. RETTIG, in his official

capacity as Commissioner of the Internal Revenue Service; DOUGLAS O’DONNELL, in his

official capacity as Deputy Commissioner for Services and Enforcement; MARTIN J. WALSH,

in his official capacity as Secretary of the Department of Labor; and ALI KHAWAR, in his official

capacity as Acting Assistant Secretary for the Employee Benefits Security Administration:
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       1.      On August 13, 2021, pursuant to Rule 4(i)(2) and 4(i)(1)(A)(i), I caused a copy of

the summons and complaint in the above-captioned case to be hand-delivered by courier to the

United States Attorney’s Office for the District of Columbia and to the Civil Process Clerk for the

U.S. Attorney’s Office for the District of Columbia. A copy of the proof of service attesting to

such delivery is attached hereto as Exhibit 1.

       2.      Also on August 13, 2021, I caused to be deposited in the United States Mail copies

of the summons and complaint in the above-captioned case, addressed separately to the U.S.

Attorney’s Office for the District of Columbia pursuant to Rule 4(i)(2) and 4(i)(1)(A)(ii), the

Attorney General of the United States pursuant to Rule 4(i)(2) and 4(i)(1)(B), and each Defendant

pursuant to Rule 4(i)(2). A copy of the receipt for the certified mail is attached hereto as Exhibit 2.

United States Postal Service tracking reports indicating that delivery of the summons and

complaint has been made to each recipient are also attached hereto. The following chart lists the

receipt number for each mailing, as shown on the receipt (Exhibit 2); the exhibit number for each

tracking report; and the date of each delivery.

 Defendant                   Receipt Number               Tracking Report        Delivery Date

 U.S. Attorney’s Office      70172620000037907304 Exhibit 3 hereto               August 20, 2021

 Attorney General            70172620000037907311 Exhibit 4 hereto               August 20, 2021

 HHS                         70172620000037907434 Exhibit 5 hereto               August 19, 2021

 CMS                         70172620000037907427 Exhibit 6 hereto               August 19, 2021

 Treasury                    70172620000037907410 Exhibit 7 hereto               August 20, 2021

 IRS                         70172620000037907403 Exhibit 8 hereto               August 20, 2021

 DOL                         70172620000037907397 Exhibit 9 hereto               August 19, 2021

 EBSA                        70172620000037907380 Exhibit 10 hereto              August 19, 2021
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 Defendant                 Receipt Number         Tracking Report       Delivery Date

 Becerra                   70172620000037907373 Exhibit 11 hereto       August 18, 2021

 Brooks-LaSure             70172620000037907366 Exhibit 12 hereto       August 19, 2021

 Yellen                    70172620000037907359 Exhibit 13 hereto       August 20, 2021

 Rettig                    70172620000037907298 Exhibit 14 hereto       August 19, 2021

 O’Donnell                 70172620000037907342 Exhibit 15 hereto       August 19, 2021

 Walsh                     70172620000037907335 Exhibit 16 hereto       August 20, 2021

 Khawar                    70172620000037907328 Exhibit 17 hereto       August 19, 2021


                                         Respectfully submitted,

Dated: September 1, 2021                   /s/ Helgi C. Walker
                                         Helgi C. Walker, D.C. Bar No. 454300
                                         GIBSON, DUNN & CRUTCHER LLP
                                         1050 Connecticut Avenue, N.W.
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                                         Attorney for Plaintiff Pharmaceutical Care
                                         Management Association
